Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 1 of 50

place for notifying psychiatrists of laboratory results. Clinicians reported that they
received timely notification of test results.

Parole medications were provided to most inmates discharged from the
facility, although some inmates still missed their medications. The institution maintained
a log of paroled MHSDS inmates who were offered and received or rejected discharge
medications. According to this log, 115 caseload inmates were paroled from NKSP
during the six months preceding the monitor’s visit. Fourteen of these inmates left the
institution before receiving their medications. No refusals were documented.
Information on parole medications was not filed in inmates’ UHRs.

The Keyhea process appeared to work well at NKSP. Inmates arriving on
Keyhea orders or placed on Keyhea orders while at NKSP were reportedly monitored and
transferred to a high level of care. According to the institutional logs, only one inmate
had a Keyhea order during the monitoring period, and no inmate was on a Keyhea order
at the time of the monitor’s visit. During the monitoring visit, the monitor found no
inmates who appeared to be in need of involuntary medication.

All psychotropic medications were administered DOT at NKSP; no
distinction was made between DOT and nurse administered medication. There was only
one overdose during the monitoring period and no suspected incidents of cheeking.

HS medications were not generally prescribed, even when clinically
indicated. Only five inmates at NKSP were prescribed HS medication. All five of these
inmates were housed in the B-3 unit of the reception center where evening medications

were administered after 8:00pm. None of the inmates housed in A-yard on the mainline

251
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 2 of 50

were prescribed HS medications, although many were receiving sedating medications
that normally called for HS administration.

NKSP had a system in place for dealing with medication errors. During
the monitoring period, 21 documented medication errors occurred. A review of the error
reports indicated that clinical follow-up was provided when appropriate.

Informed medication consent forms were generally filed in inmates’
charts. An institutional audit for the period from June 1 to October 31, 2005 indicated
that informed consent was obtained 92 percent of the time. The monitor’s limited chart
review, however, found that consent forms were current in only about half of reviewed
cases.

Mental Health Assessments for the Disciplinary Process:

Institutional disciplinary logs improved during the monitoring period. The
logs now tracked all required RVR information. Data for the period from June 1 through
October 30, 2005 showed that 150 RVRs were issued to caseload inmates, constituting
26.6 percent of all RVRs written during the period in the institution. There were 20
mental health assessments completed for caseload inmates charged with disciplinary
infractions during the monitoring period, including eight for EOP inmates, 11 for 3CMS
inmates and one for a general population inmate.

Some problems with the mental health assessment process for caseload
inmates charged with disciplinary infractions persisted. Institutional audits revealed that
mental health assessments were not always completed as required for all EOP inmates.
Assessment requests often were received in an untimely manner, and 65 percent of

assessments were not completed within the required time frame. Documents indicated

252
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 3 of 50

that 73 percent of clinicians conducted their assessment interviews in a non-confidential
setting. While just 82 percent of RVRs reported the inmates’ correct level of care, it
appeared that decisions not to refer non-EOP inmates for mental health assessments were,
for the most part, correctly made. The monitor reviewed 35 randomly selected RVRs for
3CMS and general population inmates who were not referred for assessments and found
no indication of bizarre or unusual characteristics in the charging correctional officers’
descriptions of the incidents. An institutional audit reviewed a large number of such
cases and agreed with the initial determinations in all but five cases.

Hearing officers often failed to document their consideration of mental
health input. During the monitoring period, an institutional audit indicated that 25
percent of hearing officers did not incorporate mental health input into their findings,
compared with 15 percent during the preceding monitoring period. Similarly, 50 percent
of hearing officers failed to document even their consideration of mental health input in
their dispositions, compared with 31 percent during the previous monitoring period.

NKSP’s referral agreement with the local district attorney’s office expired
in 2003. Institutional data indicated that 21 incidents involving caseload inmates were
referred to the district attorney’s office from February 22, 2004 to November 19, 2005.
Only two of the referrals were accepted for prosecution; five other referrals were declined
and 14 were still pending at the time of the monitor’s visit.

NKSP began implementation of the department’s new sexual misconduct
policy over the summer of 2005. A process for evaluating sexual misconduct was
developed and related training was conducted in July and again in October. The

institution’s evaluation process required the scheduling of an IDTT meeting within 48

253
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 4 of 50

hours of reported sexual misconduct to determine whether a more comprehensive
evaluation was needed. Thereafter, a second IDTT meeting was required to diagnose
exhibitionism. To date, only one inmate had been diagnosed with exhibitionism under
the new policy. The sexual misconduct log listed 11 other inmates who were involved in
the evaluation process, but the log reportedly failed to list all inmates who had received
RVRs for sexual misconduct. The institution reported that none of its clinicians had the
expertise required to provide treatment for exhibitionism.

Transfers:

The timeliness of EOP transfers remained a problem. Institutional data
was not entirely reliable, but it appeared that 199 EOP referrals were made during the
monitoring period. The records did not distinguish between reception center and
mainline EOP inmates, but just one general population inmate was in the institution at the
time of the monitor’s visit. According to the institution’s status report, 57.7 percent of
EOP transfers were completed within the specified time frames during the six months
preceding the monitor’s visit. Classification data reviewed by the monitor indicated that
40 percent of reception center EOP inmates were transferred or paroled as required
within 60 days; the longest delay was seven months.

Delays were evident both before and after endorsement. From late
September through early November, a number of already endorsed inmates had to be
redirected to other institutions, suggesting that bed space pressures contributed to the
mounting EOP population in NKSP. EOP inmates were generally afforded appropriate
treatment while waiting for transfer. An institutional chart audit indicated that more than

90 percent of EOP inmates were seen weekly by a clinician while awaiting transfer,

254
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 5 of 50

although the monitor’s review of MHTS case histories found a lower compliance rate of
82 percent. An EOP coordinator had been appointed recently to address the timeliness of
EOP transfers. The institution also began holding weekly meetings of high level staff
recently to review pending EOP cases. To date, the group had identified one EOP inmate
in need of immediate transfer.

The length of stays of 3CMS inmates in the reception center, which were
not excessive in the past, became similarly problematic. Among 44 3CMS reception
center inmates in NKSP at the time of the monitor’s visit, 25 percent had been awaiting
transfer longer than 90 days. Record-keeping on this issue was so poor it was difficult to
determine the timeliness of transfers during the monitoring period, but monthly staff
audits appeared to show a pattern of increasing delays in the second half of the year.

The MHCB unit at NKSP reopened during the monitoring period and
length of stay problems, which had been resolved in the past, resurfaced. In the six
weeks that the unit was open prior to the monitor’s visit, there were 24 admissions.
According to institutional logs, nine of these admissions exceeded the targeted ten-day
stay. The longest stays generally involved inmates referred to DMH; DMH referrals
were often initiated late, after the inmates had already been in the MHCB unit 11 to 17
days. The longest stay in the unit was 34 days. During most of the monitoring period,
the MHCB unit was closed and the institution used two wet cells in the CTC, three cells
in reception and two contraband watch cells for inmates in need of MHCB treatment.
Inmates in these cells were reportedly placed on one-to-one custody watch and seen daily
by a psychiatrist. Although no logs were available regarding the use of these alternative

cells, staff reported that the length of stays were often as long as three days. Since the

255
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 6 of 50

MHCB unit reopened, it was still common for one or two inmates to be housed in
alternative cells, but inmates reportedly stayed in them for less than a day.

The timeliness of transfers to CMF/DMH was also a problem. In the last
six months of 2005, there were 37 transfers to CMF/DMH. These transfers generally
took two to three weeks, with the longest transfer taking 43 days. During this same
period, there were no referrals to ASH and just one referral to SVPP, which took three
and a half months to complete. Three inmates were returned to NKSP from DMH during
the monitoring period. Their charts showed no sign of instability.

The institution was in the process of revising its video monitoring policy
to eliminate acknowledged ambiguities. Post orders for CTC correctional officers did not
provide guidance on the issue, and staff reported limited on-the-job training. Six of the
ten MHCB unit cells were equipped for video monitoring. Four of the cells were
monitored by correctional officers in a security area, while nursing staff monitored the
other cells on a separate monitor in the nursing station. Video monitoring was not used
for inmates placed on suicide watch. Rather, inmates on suicide watch were placed on
one-to-one observation with a correctional officer, while video monitoring was used
primarily for supplemental monitoring of inmates in the MHCB unit.

Other CAP Issues:

a. Partial Compliance

Clinical responses to staff and inmate referrals were erratic. The
institution made good use of the MHTS to follow up requests for psychiatric services and
kept relatively accurate track of the timeliness of responses at different levels of urgency.

The institution inappropriately calculated the response time from just the last of multiple

256
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 7 of 50

referrals to the time of appointment. Data for the six months preceding the monitor’s
visit showed that psychiatric staff responded to an average of 91 emergency referrals per
month. Of these emergency referrals, 97 percent were seen by a psychiatrist in a timely
manner. Other referrals waited up to eight days to be seen, and some were not seen at all.

The data indicated that a substantial number of clinical referrals apparently
never received a response, while urgent referrals sometimes waited weeks. There were
45 urgent referrals on average per month; of these, 28 percent were seen within one day,
13 percent apparently were never seen at all and the rest were seen within two to 65 days,
with frequent delays of more than ten days. There were 488 routine referrals on average
per month; 72 percent of these were seen within a week, 18 percent apparently were not
seen and the rest, involving almost 600 inmates, were seen within eight to 78 days. There
were far fewer inmate self-referrals than staff referrals, and all of the former were treated
as routine referrals.

The composition of IDTT meetings for 3CMS inmates deteriorated during
the monitoring period. Staff acknowledged that psychiatrists were rarely present for
3CMS IDTT meetings, particularly for those held in the general population. Chart
reviews by the monitor’s expert found that psychiatrists attended 61 percent of IDTT
meetings for 3CMS inmates in administrative segregation. Attendance by classification
staff also declined earlier in the monitoring period, but later rose to over 90 percent.
Monthly audits showed that initial and yearly IDTT meetings continued to be held in a
timely manner.

Although all CAP items involving reception functions at NKSP were

resolved earlier, institutional audits showed slippage in some areas during the monitoring

257
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 8 of 50

period. Audits indicated that 35 to 53 percent of mental health screenings and
evaluations were untimely. Institutional audits also indicated that clinicians sought
inmates’ prior mental health records less than half the time, although there was an
improvement in the last month before the monitor’s visit. On the other hand, 3CMS
inmates still received quarterly case management contacts, and group therapy was
provided to 3CMS inmates.

Problems with clinical follow-up of suicidal inmates discharged from an
MHCEB unit lagged somewhat during the monitoring period. According to institutional
logs, 91 percent of suicidal inmates discharged from the MHCB unit received five-day
clinical follow-up. Follow-up, however, started more than a day after discharge for 16
percent of tracked inmates, suggesting that compliance with policies on clinical follow-up
might actually have been 76 percent.

The institution provided CPR training to 858 custody officers during the
monitoring period. Spot checks by the monitor showed that, despite this training, not all
officers carried mouth pieces on their persons as required.

b. Non-Compliance

Vacancies in the medical records department led to increased filing
backlogs and renewed problems with misfilings. Supervisory staff reported that charts
were available for clinical contacts approximately 50 to 75 percent of the time; line staff
estimated that charts were available for only 20 to 50 percent of scheduled appointments.
Institutional Summary:

NKSP had few mental health vacancies, and contract services adequately

covered all clinical openings. The lack of psychiatric supervision was the institution’s

258
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 9 of 50

most important clinical staffing issue; continuity of treatment suffered from the large
number of contract clinicians who worked without adequate clinical supervision.
Auxiliary staff vacancies in the pharmacy and medical records department impacted
negatively on the provision of mental health services.

Among the four issues that were the focus for this round of monitoring,
quality management showed the most improvement. Two quality management issues
were resolved, and peer review continued to function well. The institution needed to
address the QIT process more aggressively and train sufficient staff to operate the MHTS.

Medication management also progressed in a number of areas.
Medication continuity on arrival and housing changes was routine, a medication
management policy had been adopted and informed medication consent forms were
generally present in inmates’ UHRs. In addition, adequate systems were in place for
parole medications, medication errors, laboratory work for inmates on mood-stabilizing
medications and Keyhea orders for inmates in need of involuntary medications. Most
MARs were legible and filed in the inmates’ charts. On the other hand, medication
expirations had increased; problems with follow-up to medication non-compliance
continued for a significant percentage of caseload inmates; and HS medications were not
prescribed.

Institutional disciplinary logs had improved, but the RVR process still had
some problems. Requests for mental health assessments were not always received in a
timely manner; a significant percentage of assessments were not completed within

required time frames; hearing officers did not always document mental health input in

259
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 10 of 50

their findings or dispositions; and clinical interviews for the assessments were not
generally conducted in a confidential environment.

Transfer delays were also apparent at all classification levels examined by
the monitor. The timeliness of EOP transfers and transfers to APP/DMH at CMF was
still a problem. Length of stays for 3CMS inmates in the reception center and for inmates
in the MHCB unit was problematic.

In regard to its CAP items, the institution continued to struggle with
clinical responses to referrals, psychiatric participation in IDTT meetings, timely mental
health screenings and evaluations in the reception center and filing backlogs. Some
slippage was also noted with respect to clinical follow-up of suicidal inmates discharged
from a MHCB unit.

During the monitoring period, NKSP was plagued by increasing demands
for mental health services but blessed with relatively full mental health staffing. The
institution needed better clinical supervision, especially of its large contingent of contract
psychiatrists. Some problems, such as more timely transfers to higher levels of care, were
beyond the institution’s capacity to fix, but continuing CAP deficiencies needed to be more

aggressively addressed and redressed.

260
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 11 of 50

Service Area H

This service area includes California State Prison, Los Angeles County

(CSP/LAC) and the California Correctional Institute (CCI.

California State Prison, Los Angeles County (CSP/LAC)
September 26-28, 2005

December 5, 2005

In an otherwise positive mental health staffing picture, vacancies among
psychiatrists increased during the monitoring period. As of September, the functional
vacancy rate among psychiatrists, after factoring in contractual hours, climbed to 28
percent, up from 16 percent during the preceding monitoring period. Over half (5.5) of
nine staff psychiatrist positions were vacant, with contractors covering the equivalent of
2.5 staff psychiatrist positions. Positions for a chief and a senior psychiatrist were both
filled by full time staff.

Among 26 case managers, positions for five psychologists and a psych
social worker were vacant, but all of them were covered by contracted staff. The chief
psychologist had recently resigned, and the position remained vacant in September. Staff
psychologists rotated as acting chief.

Three of four recreational therapist positions were vacant, but two of the
positions were covered by contractors. A senior psych tech and 13 of 14 psych tech
positions were filled. The sole vacant psych tech position was covered by contracted
staff. Eight of nine office tech positions were filled, as was the office tech supervisory
position. The vacant office tech position was covered by contracted staff.

Issues Resolved:

HS medications were ordered as needed for inmates on the mental health
caseload.

261
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 12 of 50

Medications were routinely provided to caseload inmates who paroled.

Quality Management:

CSP/LAC’s relatively embryonic quality management system progressed
only slightly during the monitoring period. Mental health staff visited two other CDCR
prisons to assess and understand their successful quality assurance activities. The only
notable resulting change in CSP/LAC’s mental health quality management during the
monitoring period was the initiation of peer review among all categories of clinicians,
including psychiatrists, psychologists and psych social workers. Peer review meetings of
psychologists were sparsely attended, while peer review among psych social workers was
not well documented.

The governing body continued to meet quarterly. In June the governing
body received a report on the shortage of crisis beds. Minutes reflected that local
operating procedures addressing the shortfall of CTC beds were revised to eliminate a
provision allowing suicide watches in holding cells.

The mental health quality management committee met monthly but
forwarded few reports to its oversight committee in 2005. Few staff other than
supervisors were involved in quality management or informed about the results of audits.
Custody staff rarely attended committee meetings. Five QITs were in progress but they
did not function as intended. QIT activities needed better documentation.

Suicide prevention committee meetings were well attended by mental
health and custody representatives, but other significant participants missed all or most
meetings. The activities of the committee were well documented and covered essential

items. Information about suicide prevention was disseminated via teleconferences and

262
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 13 of 50

on-the-job training through collaborative efforts by mental health and custody staff. The
suicide prevention committee paid insufficient attention to custody observations of
suicidal inmates discharged from crisis beds or higher levels of care.

Medication Management:

Medication management benefited from sustained collaboration among
medical, mental health and custody staffs. The institution effectively provided
medications to 90 percent of inmates released on parole. Omissions were attributed to
incomplete or outdated lists. Improvements occurred in handling medication non-
compliance, continuity of medications and the procurement of informed medication
consent forms, but more work was needed in all three areas. The facility also resumed
the appropriate ordering and distribution of HS medication during the monitoring period.

Non-compliance with medications was more frequently reported to mental
health in a timely manner. The improvement, attributed to better training and
supervision, was reflected in institutional audits. While inmates referred for non-
compliance were subsequently seen relatively quickly by psychiatrists, MTAs did not
always make referrals when warranted.

Medication orders were filled routinely the day after they were written.
Institutional audits found that in 2005 informed medication consent forms were filed in
81 to 93 percent of audited charts.

Problems with the timely renewal of medication orders persisted despite
efforts of a QIT chartered to address the issue. Software used by the pharmacy did not
distinguish discontinued from expired orders. While institutional audits found few

problems with expirations, staff’s attempts to prevent orders from expiring by writing

263
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 14 of 50

orders in excess of 90 days went unaddressed. Interviewed inmates reported that their
orders predictably ran out every 90 days, resulting in lapses in medication administration.

Medication continuity was maintained for 80 percent of arriving inmates.
To improve medication continuity during intra-institutional transfers a new practice
required that nurses stamp inmate movement sheets. Early results appeared promising,
but no audits had yet been conducted to confirm the effects of the new practice.

Previously resolved problems with heat-sensitive psychotropic
medications and Keyhea orders re-emerged. Interviewed inmates reported they were not
informed about the possible risks posed by certain psychotropic medications and
exposure to high heat. Some had heat cards, but others did not. Recent large scale
transfers of inmates in and out of the institution may have contributed to the lapses.

Twenty-four Keyhea cases were either initiated or renewed in 2005.
Twelve petitions did not result in an order because they were dropped, denied or the
inmate was transferred before a decision was reached. The Keyhea coordinator
maintained two lists of Keyhea cases that overlapped but were not identical.
Management of the Keyhea process needed further improvement.

Mental Health Assessments for the Disciplinary Process:

CSP/LAC continued to maintain a comprehensive log of RVRs and mental
health assessments. The log was useful in conducting audits and identifying problems.
Inmates continued to type final RVRs despite the obvious breaches of confidentiality
involved in the practice.

The volume of disciplinary proceedings slowed dispositions and drove up

the number of inmates in administrative segregation. There were not enough walk-alone

264
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 15 of 50

yards to accommodate the number of inmates in administrative segregation on walk-
alone status. The number of referrals made to the local DA increased fivefold during the
monitoring period. The number of RVRs written in the EOP increased. The quality of
mental health assessments done for disciplinary purposes declined as did the frequency
with which segregated inmates had ICC meetings.

During the monitoring period, 150 EOP inmates received RVRs and
mental health assessments. Sanctions were mitigated in nine percent (13) based on the
mental health assessment. During the monitoring period, mental health assessments were
prepared for 29 3CMS inmates (two percent of the 1,439 RVRs written for 3CMS
inmates) and five non-caseload inmates. This represented a modest improvement over
the preceding monitoring period when no 3CMS or non-caseload inmates were referred
for assessments. An audit completed by staff in August examined whether bizarre,
unusual or uncharacteristic behavior was being under-identified by senior hearing
officers. The audit found no problems.

An audit in early 2005 found somewhat improved mental health
assessments and better documentation by hearing officers in the findings and disposition
sections of the RVR. The audit indicated that 39 percent of reviewed assessments were
incomplete, while 21 percent were not expressed in lay terms. Deficiencies were
attributed to untrained clinicians completing assessments. Three additional training
sessions were conducted, and untrained clinicians were prohibited from performing
assessments. An audit of 29 cases in August found improvements in quality. Eighty-six

percent of the reviewed assessments were complete, and suitably lay language was used

265
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 16 of 50

in 93 percent. Problems with timeliness and the documentation of outcomes persisted in
17 percent of the reviewed assessments.

The monitor’s review of a large sample of RVRs of EOP inmates found
that senior hearing officers apparently understood the purpose of the mental health
assessment and usually documented their consideration of the assessments. In some
cases information provided by mental health was not noted, and the disposition was in
conflict with the assessment. Some problems were found with the quality of mental
health assessments; not all were complete. Assessments sometimes contained
information that was not particularly useful, and several failed to document interviews
with inmates. Staff reported growing pressure from some correctional staff to write
assessments in a particular way.

The large number of RVRs, combined with the high proportion of
caseload inmates charged, reportedly slowed the processing of RVRs. Anecdotal reports
pointed to several associated problems. ICC meetings were pushed back to 120-day
intervals for a time but were held every 30 days by the time of the monitor’s September
visit. One correctional counselor reportedly had over 200 RVR cases to process at a
given time.

A markedly increased number of cases were referred to the district
attorney during the monitoring period. Disciplinary charges involving 46 EOP and 58
3CMS inmates were referred for possible prosecution, compared with a total of just 20
referrals of charges involving caseload inmates during the preceding monitoring period.
One consequence of the increase was a rise in the number and lengths of stay of caseload

inmates in administrative segregation.

266
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 17 of 50

Three RVRs were written for self-injurious behavior during the
monitoring period. Contrary to CDCR policy, no mental health evaluation was requested
prior to writing up the charge in any of the three instances. An extremely high number of
RVRs were posted in the EOP unit for disrespect towards staff, obstructing peace officers
and violations of grooming standards. A number of these RVRs involved inmates
identified during the unidentified needs assessment (UNA) as requiring a higher level of
care. Among the assessments reviewed by the monitor, clinicians in two argued strongly
for the assessed inmate’s guilt. Two other assessments of “troublesome” inmates with
personality disorders raised questions about the clinical objectivity of the assessors.

Several interviewed EOP participants reported to the monitor that
correctional officers provoked inmates who were severely mentally ill, ignored requests
for help, goaded inmates into injuring themselves and physically abused inmates. A
small number of inmates exhibited signs consistent with emotional trauma when
recounting such mistreatment. See, for example, Exhibit M, Case Review 8.

Transfers:

Tracking of referrals and transfers to higher levels of care improved. Logs
were complete except for the one used to track transfers to a PSU, which omitted some
essential milestones. Referrals to DMH for acute care occurred on average within four
days of an inmate’s arrival in the MHCB unit. Of 23 referrals to DMH/APP at CMF, 20
were accepted, three were rescinded and none was rejected. Discharge summaries from
DMH were rarely found in the medical records of inmates who were treated and returned.

Acceptances and transfers to DMH/APP slowed significantly during the

monitoring period. Acceptance took on average 34.5 days with a range of eight to sixty

267
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 18 of 50

days. During the preceding monitoring period, the average was nine days, which, in turn,
was a substantial increase over the two to three days reported during the 14" round of
monitoring. Bed numbers were assigned on the day of acceptance in all but two cases.

In the two exceptions, bed numbers were supplied within one and three days of clinical
acceptances. The average time to transfer was 2.5 days. The average included one
transfer that took seven days.

From January through September 2005, CSP/LAC initiated 39 referrals to
intermediate DMH care at SVPP. No referrals were made to ASH. Twenty-three
referrals were triggered by UNA reviews. Most of the UNA cases were reviewed via a
monthly IDTT meeting, but few received any augmented treatment. Some inmates
reviewed during the UNA, who were recommended for referrals to higher levels of care,
subsequently received treatment that was less than adequate. See, for example, Exhibit
M, Case Reviews 1, 3,6 and 9. Inadequacies included a lack of monthly psychiatry
contacts, a failure to consider involuntary medication when apparently appropriate, a high
proportion of cell-front contacts and unresponsive, fragmented and delayed treatment and
treatment plans that omitted essential elements.

Referral packets were not completed expeditiously. One inmate
recommended in the UNA for referral to intermediate DMH care was finally referred to
an intermediate level of DMH care nearly six months after the UNA recommendation
was made. Another inmate recommended for referral in the UNA was not referred
because clinical staff believed that a change in his housing would be disruptive. The
inmate appeared no less in need of an intermediate level of DMH care when seen by the

monitor’s expert nine months later. On average, it took ten weeks, with a range of one to

268
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 19 of 50

24 weeks, to complete a referral to DMH/SVPP programs. A total of 34 packets were
submitted. Five more were being completed at the time of the monitor’s September visit.
Three referrals were rejected, six were rescinded and one inmate was paroled before
gaining admission. Only two of the referrals actually resulted in transfers to SVPP. One
inmate admitted to SVPP was returned to CSP/LAC after a seven-month stay; he was
stabilized on a non-formulary antipsychotic medication and returned with orders to
remain on it. Due to a series of errors and omissions after his return, the medication was
not available to him for two months following his return.

Recognizing the delays and realizing the need for improvement, a new
local operating procedure on referrals was promulgated in September. The procedure
described the steps in identifying referrals and assigned responsibility to specific
individuals for performing each step. Staff planned to audit the process. DMH’s
requirement that the sending institution hold Vitek hearings for inmates who refused
acute or intermediate care was reported by staff as a serious impediment to timely
referrals. A newly appointed CCII was expected to facilitate future Vitek hearings.

Seven inmates had three or more stays in the MHCB during the six months
preceding the monitor’s September visit. Two were referred to DMH; one was
transferred and the other remained on a wait list for intermediate care. Records of
treatment in the MHCB unit were often missing from discharged inmates’ UHRs. No
systematic quantitative data on the shortage of crisis beds was available on site.

During the monitoring period there were 14 transfers to a PSU. Little
information on the dates of ICC referrals, endorsements or transfers for these inmates was

available. In the three cases where data was available, delays between referral and

269
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 20 of 50

endorsement averaged two weeks, while the interval between endorsement and transfer
averaged 37 days. Seven inmates were awaiting transfer to a PSU in September.
Available information showed that two of these were originally referred in March, two in
May and one in August.

Other CAP Issues:

a. Partial Compliance

The number of hours of treatment offered to EOP inmates in the general
population fell below ten per week due to cancellations of group treatment and an
idiosyncratic method of counting supervised recreation time that inflated hours.
Quarterly IDTT meetings were held regularly for caseload inmates in administrative
segregation, but correctional counselors and C-files were not always present. EOP
inmates in administrative segregation were offered ten hours of scheduled structured
therapeutic activities weekly. An effort to streamline the escort process by compressing
all ten hours of group activities offered to any individual within two days resulted in too
much in-cell time during the other five days. A shortage of yard space restricted out-of-
cell time even further. At the time of the monitor’s December visit, structured
therapeutic activities for EOP inmates in administrative segregation had been
redistributed throughout the week. Inmates reported they were able to get out of their
cells five or six days each week.

b. Non-Compliance

CSP/LAC remained unable to screen new admissions to administrative
segregation reliably. Ten of 38 UHRs reviewed by the monitor did not contain mental

health screenings associated with placement in administrative segregation. Among the

270
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 21 of 50

remaining 28 screenings, three resulted in referrals for follow-up, which actually
occurred in two. A note in the third inmate’s chart indicated that he was not seen because
he had been removed from administrative segregation. A month later he was readmitted
to administrative segregation, but he was not screened pursuant to this second admission
nor was he seen by mental health staff following-up the referral from the positive
screening on his first admission.

Institutional Summary:

The functional vacancy rate for psychiatry rose from 16 to 28 percent
during the monitoring period. Other clinical categories were fully staffed or covered by
contractors.

Medication management remained a problem overall, although
collaborative improvement efforts among disciplines contributed. Areas showing
progress included HS medications, acquisition of informed medication consent forms,
parole medications and referrals for medication non-compliance. Follow-up to non-
compliance, timely renewal of medication orders and continuity of medication on intra-
institutional moves showed some improvement but remained problematic. Distribution
of heat cards and tracking of Keyhea orders, previously resolved issues, re-emerged as
problems.

Progress in quality assurance was flat during the monitoring period except
that all three clinical disciplines were engaged in peer review. Meetings of the suicide
prevention committee were not well attended, but the ramp committee worked well.
With regard to transfers, the tracking of referrals to higher levels of care improved

significantly. Staff, however, took too long to complete referral packets for intermediate

271
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 22 of 50

care. Access to inpatient DMH programs, both acute and intermediate, was poor. The
wait for access to acute DMH care stretched beyond 30 days, while clinical acceptance
for intermediate care resulted in placements on a wait-list but rarely in an actual transfer
to SVPP. Once a bed became available, CSP/LAC transported the inmate promptly.
MHCB beds also were not always available when needed.

The quality of mental health assessments in the disciplinary process varied
from unacceptable to adequate during the monitoring period. Audits and supplemental
training sessions were conducted to improve the quality of assessments, but more needed
to be done. The handling of RVRs for self-injurious behavior consistently violated
applicable CDCR policy. Inmate clerks inappropriately continued to be used to type
RVR documents. The volume of RVRs and DA referrals of caseload inmates increased
significantly.

In September, inmates reported acts of physical aggression, intimidation
and verbal humiliation by correctional officers in EOP buildings and administrative
segregation. Between the September and December, similar reports from interviewed
general population EOP inmates declined, but remained widespread in administrative
segregation. In addition to allegations of maltreatment of mentally ill inmates, EOP
inmates in administrative segregation reported that correctional officers applied OC spray
with little or no justification and failed often to decontaminate sprayed inmates or
document the use of OC.

California Correctional Institution (CCI)
November 7, 2005 — November 9, 2005

CCI had vacancies for a senior psychiatrist, 3.5 psychiatrists, a senior

psychologist and 8.34 psychologists. Contract clinicians and interns covered all but one

272
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 23 of 50

vacant psychiatrist positions and all but 0.34 of vacant psychologist positions. CCI
continued to have difficulty recruiting and retaining permanent mental health staff due, in
part, to the remoteness of its location. The institution reported a 50-percent turnover
among psychologists during the past year. CCI continued to have continuity of care
problems related to these permanent staffing vacancies.

CCI’s mental health caseload capacity was recently increased from 1,199
to 1,349 inmates. The total number of MHSDS inmates at CCI at the time of the
monitor’s visit was 1,374 inmates, including 38 EOP inmates. Those numbers
represented approximately 24 percent of the total inmate population at CCI. Additional
staff positions had been allocated to the institution to support the increased caseload
population, but administrators complained that it generally took a year before funding for
augmented staff became available and, in the interim, staff levels were insufficient to

provide adequate mental health services to all caseload inmates.

The institution also had difficulty recruiting and retaining auxiliary staff.
Positions for 9.81 RNs and 13 MTAs were vacant. In addition, two nurses and one MTA
were on extended leave. Contractors covered all of the nursing vacancies, but only four
of the MTA openings.

Issues Resolved:

Clinical intake assessments were completed in a timely manner.
Initial treatment plans were also completed within specified time frames.

Inmates were provided with parole medications upon discharge from the
institution.

273
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 24 of 50

Quality Management:

CCI continued to make progress in implementing its quality assurance
process. The quality management committee was required by institutional policy to meet
twice monthly, but it generally met weekly and regularly kept minutes of its meetings.
Due to staffing vacancies, however, no psychiatrist attended these meetings. The mental
health subcommittee had been meeting biweekly for many months.

A number of QITs were active at CCI during the monitoring period
covering all unresolved CAP items. The reporting format used by QITs to describe their
methodologies, results and corrective plans continued to improve, although
methodological problems with some audits persisted, particularly with medication

management audits.

Chart reviews were conducted routinely, and staff was usually informed of
results. Psychiatrists still met for weekly peer review, but no minutes were maintained of
the meetings. Psychologists and psych social workers met together for peer review on a
monthly basis. Minutes from these meetings indicated that peer review activities were

primarily focused on reviewing UHRs for the presence or absence of specified criteria.

The MHTS was, according to the institution’s status report, used
extensively at CCI to produce weekly management reports, to track case manager
contacts and to ducat inmates for arrival contacts, but there were still some inaccuracies
in the system. During the preceding monitoring round, an institutional concordance study
found a five-percent discrepancy rate between the MHTS and UHR data. Another
concordance study, completed in September 2005, found a slightly lower concordance

rate of 93.1 percent. Due to these inaccuracies, the institution did not use the MHTS to

274
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 25 of 50

conduct its quality management audits, which were administered manually. The

accuracy of some printouts and reports reportedly improved in recent months.

Medication Management:

Some aspects of medication management continued to present problems.
The shortage of psychiatric staffing and methodologically flawed audits, especially in
relation to continuity of medication issues, made it hard to implement departmental
policy requirements. The institution was in the process of revising its local operating
practices for the delivery of medications at the time of the monitor’s visit. Specifically,
CCI was changing from a bulk administration process to a more individualized
medication packet system. The changeover was expected to be completed in January
2006.

Medication continuity for arriving inmates appeared to be functioning
reasonably well. The institution had procedures in place for providing medication to
inmates arriving with prescriptions from other CDC institutions, as well as those without
proof they were on medication. Medication continuity for inmates changing housing
locations remained problematic. Much of the problem was attributed to the failure of
correctional officers to follow local procedures for the use of the form designed to notify
impacted departments of internal relocations. Similarly, continuity at the time of
medication renewals was erratic. Inmates awaiting renewals were not always scheduled
for appointments with, or seen by, prescribing psychiatrists within the 14-day
prescription extension period. Institutional audits in all of these areas were

methodologically flawed, yielding a wide range of inconsistent and unreliable data.

275
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 26 of 50

The timeliness of follow-up to medication non-compliance was
troublesome. Non-compliant inmates were not consistently seen by mental health within
seven days of referral. Filing backlogs made it difficult to assess the degree of
compliance accurately, but institutional audits for October 2005 indicated that just 60
percent of non-compliant inmates were referred in some housing levels and from zero to
70 percent of referrals were seen in a timely manner. Timely psychiatric follow-up to
medication changes was also problematic. A flawed institutional audit showed that only
54 percent of inmates were seen within two weeks of their prescription changes.
Psychiatric staffing shortages were largely responsible for these delays.

CCI continued to maintain a parole medication log, showing that parole
medications were generally provided to inmates discharged from the institution.
Quarterly audits for the period form January through September 2005 showed that
between 88.3 and 94 percent of paroling inmates received a 30-day supply of
medications. During the same period, a minimum of 97.3 percent of inmates received
pre-parole counseling.

Significant progress occurred in the ordering of laboratory tests for
inmates on mood-stabilizing medications, but test results were not always returned and
filed in inmates’ UHRs in a timely manner. Moreover, the institution did not audit
whether prescribing clinicians made appropriate adjustments to inmates’ medications in
response to test results. The monitor’s expert recommended reviewing and possibly
revising existing protocols for laboratory testing.

CCI lacked any process for distinguishing between DOT and nurse

administered medications, and no central record was kept of inmates receiving DOT. All

276
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 27 of 50

inmates in administrative segregation reportedly were administered their medications via
DOT procedures, even though DOT was not formally ordered for many of them.
Implementation of DOT procedures, as well as those for nurse administered medications,
were periodically observed and supervised.

CCI reported that local management of the Keyhea process improved
during the monitoring period. The institution historically had problems tracking inmates
who arrived on Keyhea orders due to deficiencies in the department’s centralized list of
inmates with active Keyhea orders. New protocols for the screening of charts by RNs
were introduced in July 2005, and staff was trained on how to conduct the screening. As
a result, the institution indicated it was able to track arriving Keyhea inmates much more
accurately. Renewals were reportedly sought in a timely fashion.

At least 20 percent of inmates on psychotropic medications were receiving
their medications on a HS basis. Few inmates in locked-down housing units, however,
received HS medications.

Medication errors were under-reported at CCI, particularly with respect to
missed medications that, pursuant to policy, should have been considered medication
errors. According to medication error reports, only five instances of missed medications
occurred during July and August 2005, none of which involved mental health inmates. In
contrast, an institutional study for the period from June 20 to July 20, 2005 found 245
missed doses, few of which apparently generated medication error reports.

Nothing changed during the monitoring period with respect to the use of

MARs. CCI still did not use the new MAR form, but entries were legible and the forms

277
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 28 of 50

were filed routinely in inmates’ UHRs. Supervisors continued to review MARs

approximately twice a month.

CCI reported that informed medication consent forms were obtained from

inmates on psychotropic medications and filed in inmates’ charts.

Mental Health Assessments for the Disciplinary Process:

The RVR data collection process at CCI was largely unreliable. Methods
for collecting data differed from housing yard to housing yard, and many logbook entries
were inexplicably voided. Computerized information was frequently inconsistent with
data in the manual logs. Mental health assessment logs were more accurate; a
comparison of the assessment log and completed RVRs indicated a reliable level of
congruence.

From January through September 2005, 99 mental health assessments
were completed, 22 of them for EOP inmates. Clinicians were not assigned to complete
assessments for inmates on their own caseloads. The monitor’s expert reviewed 20
completed assessments and found that, while assessments were clearly written in lay
terms, they rarely recommended mitigating punishment. Clinicians and hearing officers
appeared to have a fundamental misunderstanding of the purpose of mental health
recommendations. Further training on mental health input and mitigation standards was
needed.

Hearing officers generally noted clinicians’ conclusions, but did not
always document the relation of mental health input to their dispositions. According to
an institutional status report in June 2005, hearing officers referred to the completed

mental health assessments in 29 of 32 cases.

278
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 29 of 50

CCI had an agreement with the district attorney’s office about inmates
referred for criminal charges. Both parties reportedly continued to honor the agreement,
although it formally expired in July 2004. CCI tracked referrals only of EOP
administrative segregation inmates. Institutional data showed that between January and
October 2005, infractions involving 30 EOP administrative segregation inmates were
referred to the district attorney. Nineteen of these referrals were declined, four were still
pending and seven were in various stages of evaluation by the district attorney’s office.
Transfers:

The number of EOP transfers delayed beyond required timelines declined
somewhat during the monitoring period. According to institutional data, the average
number of delayed EOP transfers in 2005 was 12.25; in September 2005, the average was
down to 8.5. The institutional audit did not, however, indicate the range in the length of
delays experienced by inmates.

The timeliness of transfers of EOP inmates in administrative segregation
deteriorated. EOP inmates more frequently remained beyond 60 days in CCI’s
administrative segregation unit due to the shortage of beds in EOP administrative
segregation hub units. Reportedly, the institution also had difficulty in transferring
3CMS inmates identified as needing an EOP level of care into EOP programs at other
institutions. CCI did not provide any information on accelerated transfers to EOP

placements of inmates based on clinical determinations.

CCI had serious problems with access to MHCB units, due to the system-
wide shortage of crisis beds during the monitoring period. Staff indicated that the

number of MHCB transfers decreased from an average of ten to 15 per month to only two

279
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 30 of 50

or three a month. From November 2004 to November 2005, 60 OHU inmates were
placed on the MHCB waiting list; 35 of these inmates were removed from the waiting list
because they either improved or were paroled; only eight of the 60 inmates actually
transferred to a MHCB unit. CCI drafted, but had not yet signed, a local operating
procedure to regulate the placement of inmates awaiting MHCB transfer for whom no
beds were available.

There continued to be some inmates with extended lengths of stay in the
OHU. From November 2004 to November 2005, there were 362 admissions to the OHU.
Of these, 33 admissions remained longer than three days, with lengths of stay ranging
from four to 20 days. During this same period, nine inmates had more than three
admissions to the OHU.

CCI had access to DMH, primarily through CMF, although delays
continued to interfere with the transfer of some inmates. There were 22 inmates referred
to DMH from CCI during 2005. At the time of the monitor’s visit, only four of these
inmates remained at CCI. Two were never transferred to DMH; another was accepted at
DMH within 14 days of his referral, but was hospitalized at a local area hospital for
medical reasons at the time of his acceptance; and the last was just being transferred
within 15 days of his referral.

Psych and return procedures were usually, but not always, followed. The
institution was reportedly notified in advance of inmates returning from DMH, although
some inmates returned without prior notice. Similarly, discharge summaries were

generally, but not always, received for returning inmates.

280
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 31 of 50

Other CAP Issues:

a. Partial Compliance

Group therapy for 3CMS inmates was limited at CCI due to space
constraints and staffing shortages. There were several groups operating at CCI, but the
monitor received conflicting data about the exact number of groups offered.

The confidentiality of case management contacts, a problem resolved
earlier everywhere except in administrative segregation, reappeared. Case managers did
not always meet with inmates in confidential settings due to the lack of private interview
space. A shortage of escort officers also contributed to the problem, particularly in the
lockdown units. Out-of-cell contacts in administrative segregation were often conducted

in holding cells in open dayrooms.

Suicide prevention follow-up declined slightly during the monitoring
period. Clinicians provided five-day follow-up for 90.91 percent of inmates discharged
from MHCB units and the OHU. In September 2005, compliance slipped to 87 percent.

Two follow-up entries in May and June 2005 were found to have been falsified.

Heat passes were reportedly distributed to most inmates on heat-sensitive
medication, but not all inmates appeared to have them. The results of spot checks in June
and July 2005 were erratic. MTAs at some pill lines asked to see inmates’ heat passes
and issued passes to inmates without them, while other MTAs neither asked to see
inmates’ passes nor carried a supply of heat passes to distribute. An institutional audit of

25 inmates on psychotropic medications found that all but two had heat passes.

281
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 32 of 50

b. Non-Compliance

Psychiatric attendance at IDTT meetings worsened. An institutional audit
in October 2005 showed that psychiatrists attended less than five percent of IDTT
meetings on most yards. Earlier audits in June and August 2005 reflected higher
attendance rates on some yards. The monitor’s expert reviewed the treatment plans of

several inmates and found that they were often generic.

Problems with the timeliness of psychiatric responses to inmate and staff
referrals were resolved during the ninth monitoring round, but no updated information
was available on continuing compliance in this area. The institution used the MHTS to
track referrals, but until recently the system did not have the capacity to monitor

timeframes.

The institution was unable to audit range of motion practices in the OHU
for inmates placed in restraints. Documentation on the provision of range of motion to
inmates in restraints was filed in inmates’ UHRs on their discharge, so no records on the
issue were retained in the OHU. Often such inmates were transferred to a MHCB unit
elsewhere along with their records, leaving the facility with no way to audit compliance.
An earlier recommendation suggested the development of a restraint log that documented
range of motion practices, but the institution failed to respond. Two inmates were placed

in restraints in the CCI OHU in October 2005.

Although problems with incomplete mental health files were earlier
resolved, filing backlogs again presented a major problem for the institution. CCI had
large piles of loose filings that intermittently waxed and waned. As a result, clinicians

often did not have inmates’ complete records available to them at the time of contact,

282
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 33 of 50

compromising the delivery of proper mental health care. Delays in moving charts and
occasionally lost charts further impinged on mental health services. Filing problems also
made it difficult to conduct reliable audits of a number of important medication

management issues.

CCI had implemented the department’s new sexual misconduct policy.
Institutional data indicated that 19 inmates received RVRs for sexual misconduct since
the new policy went into effect. Of those 19 inmates, clinicians had assessed 14 inmates
by the time of the monitor’s visit, diagnosing three of them with exhibitionism; two of the
three inmates were in the MHCB unit. According to the institution, there were no
clinicians at CCI with sufficient expertise to treat this problem, and no related
departmental training had yet occurred.

During the monitoring period, CCI completed CPR training, including
training on the use of mouth shields, for many correctional officers. The institution
expected to provide training for the 150 officers not yet trained by the beginning of
December 2005. The monitor conducted spot checks with a small sample of correctional
officers and found that not all of them carried mouth guards as required by departmental
policy. Some of the encountered correctional officers did not understand the connection
between CPR and use of the mouth guards.

Eight cells at CC] were equipped with video monitoring equipment. One
correctional officer was able to monitor up to six cells simultaneously. The resolution of

the monitor screens was adequate.

283
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 34 of 50

Institutional Summary:

CCI had a significant number of psychiatrist and psychologist vacancies
among permanent positions, but was consistently able to cover most clinical vacancies
with contracted providers. Reliance on contract psychiatrists caused problems
particularly in consistent medication practices and fully staffed IDTT meetings.

Of the four areas of focus during the monitoring period, quality assurance
maintained earlier progress and demonstrated some continuing improvement. The
quality management committee and the mental health subcommittee met regularly; a
number of QITs were active; chart reviews were conducted regularly; and peer review
seemed firmly established. Some lingering inaccuracies in the institution’s MHTS
limited the facility’s capacity to conduct audits in some areas.

Unreliable RVR data hindered evaluation of the mental health assessments
in the disciplinary process, although available data on the actual assessments was
considered accurate. Assessments were written clearly, but clinicians consistently
refrained from recommending any mitigation of punishment in appropriate cases.

Faulty institutional audits also made it difficult to assess compliance with
medication management requirements. Progress continued in maintaining medication
continuity on arrival, providing parole medications, tracking inmates on Keyhea orders,
ordering laboratory tests for inmates on mood-stabilizing medication, providing HS
medications and obtaining and filing informed medication consent forms. Problems
persisted with the continuity of medication for inmates changing housing locations and

on the renewal of medication orders, follow-up to medication non-compliance and

284
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 35 of 50

medication changes, the timeliness of laboratory test results, the delivery of DOT and
nurse administered medications and the consistent accuracy of medication error reports.

The timeliness of EOP transfers improved marginally, but problems
expanded with transfers to other levels of mental health care. EOP administrative
segregation inmates frequently waited longer than 60 days for transfers to a hub unit, and
the system-wide shortage of MHCB beds resulted in fewer and less timely transfers and
longer stays in the OHU. Access to DMH was delayed for some inmates, but psych and
return procedures reportedly were followed in most instances.

Relative to its CAP, the institution made some favorable progress during
the monitoring period, while resolving three deficiencies. The institution offered limited
group therapy to eligible 3CMS inmates, while the shortage of escort officers and
inadequate confidential space for case manager contacts seriously compromised clinical
communication. Suicide prevention follow-up decreased slightly, and some inmates
lacked required heat passes. Problems persisted with filing backlogs. The absence of
available documentation of range of motion practices during involuntary restraints of
inmates prevented any assessment of compliance with program guide requirements in this

regard.

285
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 36 of 50

Service Area I

Service Area I includes the California Institution for Men (CIM) and the

California Rehabilitation Center (CRC).

California Institution for Men (CIM)
October 5, 2005 — October 7, 2005

January 31, 2006

In October 2005, CIM had 13 allocated supervisory and staff psychiatrist
positions. One staff psychiatrist position had been re-directed to DCHCS in Sacramento,
but all 12 remaining positions were filled by permanent employees and one contractor.
Among 33.5 line and supervisory case manager positions reported as allocated by the
institution, all but one were filled by permanent employees and one full-time contract
psychologist. The department’s statistics on CIM staffing indicated that the facility’s
allocation of line and supervisory case manager positions in October 2005 was 36.9. One
supervisory psychologist position was undergoing reclassification to a line position, but
this still left a difference of 2.4 case manger positions between the department’s
accounting and the institution’s. CIM reported four allocated and filled psych tech
positions, while the department’s figures showed 5.9 allocated psych tech positions. Two
of three allocated positions for recreational therapists were filled, while the third was
being converted to a case manager position. There were no vacancies among RN,
medical transcriber and MTA positions. CIM’s mental health staffing appeared relatively
adequate, but was offset by substantial caseload growth.

The MHSDS caseload census in CIM in October 2005 included 1,452
inmates, 194 of them at the EOP level of care. Between December 2004 and October

2005, the overall MHSDS caseload population grew by nearly 30 percent. In mid-2005,

286
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 37 of 50

caseload numbers in administrative segregation and EOP experienced a substantial surge.
In July, the facility reported an EOP population of over 200, compared with an earlier
average of 115; in August, the caseload population in administrative segregation rose to
101, compared with an earlier average of 52. In January 2006, the monitor found some,
but not much, change in caseload numbers. The EOP count averaged roughly 180
inmates from October through January, and the overall population count in administrative
segregation ranged from 130 to 150 during the same period. In January, 37 EOP inmates
were housed in administrative segregation.

During the monitor’s October visit, CIM administrators reported that no
additional mental health staff had been allocated to match the escalating population
despite institutional pleas for more positions. In January, the facility reported that it had
received an allocation of positions for 2.25 case managers and a psychiatrist, but these
were temporary contract positions for its MHCB unit and an anticipated increase in
reception activities. The net result of all this was considerable erosion of gains in the
provision of improved mental health treatment and care reported in the preceding
monitoring round.

Issues Resolved:

Meetings between psychiatrists and inmates were held in a private setting.

Quality Management:

The institutional health care quality management committee met weekly.
Meetings were well attended and chaired by the warden. Minutes of the meetings were
complete but often contained repetitive boilerplate language, while consideration of some

subcommittee reports, including one on timely transfers of MHSDS inmates, were

287
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 38 of 50

deferred repeatedly. The committee also discussed suicides and serious self-inflicted
injuries.

The mental health quality management committee met monthly. Well-
kept minutes indicated that attendance was good and participants routinely discussed
relevant issues. A list of remedies generated by the Office of the Inspector General in its
report on the 2004 stabbing of a correctional officer at CIM served as a focal point for
many quality assurance activities, including the production of new local operating
policies and audits. Among other subjects, the new procedures addressed involuntary
medications, DMH referrals, treatment services in administrative segregation and peer
review.

The suicide prevention subcommittee held monthly meetings that were
reasonably well-documented. Custody staff and psychiatrists rarely attended meetings,
while RNs and MTAs attended them only occasionally. Meetings were typically
attended by the same three or four mental health clinicians, who consistently failed to
identify problems, examine current practices or record improvements. Eight serious
incidents involving self-injuries and two suicides occurred in CIM in 2005. Greater and

more interdisciplinary suicide prevention efforts needed to be undertaken in CIM.

Several QITs chartered during the monitoring period had a positive impact
in developing new local operating policies, standard procedures and training. QITs on
access to mental health crisis beds, RVRs and initial mental health screenings included
representatives from all relevant disciplines and locations, maintained coherent records
and worked as intended. Some other QITs met rarely, lacked focus and had little impact.

Mental health staff reported that they received feedback regularly on the results of quality

288
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 39 of 50

assurance audits. They also cited pressing clinical duties to justify their reluctance to

serve on QITs.

For the first time, all three clinical disciplines were conducting regular
peer review. Reviews were completed on schedule and addressed meaningful issues.

The process was well organized and documented, and the results were reported regularly

to DCHCS.

Medication Management:

Medication management remained problematic. Flawed audits helped to
obscure the extent of problems with medication management. Interviewed staff and
inmates indicated that medication orders often went astray after being written. Inmates
with current orders experienced interruptions in their medications when they changed
locations, and gaps between the expiration and renewal of medication orders were
common. No reliable system was available to schedule appointments before orders
expired. Non-compliance with medications did not routinely elicit a response.
Psychiatrists who evaluated new admissions in reception reported that they no longer had
access to records of current medication orders that accompanied inmates arriving from

county jails.

MARs remained difficult to read and were not filed in UHRs in a timely
fashion. In a new development, staff reported that supervisors reviewed MARs weekly.
An institutional audit of informed medication consent forms found a drop in compliance

from over 80 percent to 57 percent.

289
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 40 of 50

Medication errors were still reported to the directors of nursing and
pharmacy. The pharmacist continued to aggregate errors and forward a summary to the
health care quality assurance committee. Staff reported that the pharmacy at CIM
continued to provide paroled inmates with a supply of medication and maintained records
of the distribution of parole medications in each yard. The institution reportedly mailed

medication to inmates who left without it.

Eight percent of the mental health caseload had orders for HS medication.
A new local operating procedure was adopted on Keyhea orders. The Keyhea
coordinator reported that the system for identifying newly arrived inmates with active
Keyhea orders was generally accurate but failed to identify those inmates whose Keyhea
orders were due to expire within 30 or fewer days after their arrival. Several Keyhea

petitions were lost due to technical and logistical issues.

Mental Health Assessments for the Disciplinary Process:

CIM conducted an effective QIT on the disciplinary process for mentally
ill inmates. Despite joint retraining of custodial and clinical staff early in 2005, the
number of cases in which the reporting employee deemed a 3CMS inmate’s behavior to
be bizarre, unusual, or uncharacteristic remained low. C- files and medical records were
not always reviewed by mental health staff completing assessments due to a lack of

availability.

The institution conducted two audits, one pre-and one post-training. Prior
to the training, many deficiencies were found in both the clinical and custodial
components of RVRs. The second audit focused on the intelligibility of mental health

assessments and whether dispositions by hearing officers took those assessments into

290
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 41 of 50

account. The second audit found, and the monitor’s review confirmed, that mental health

assessments were complete, and hearing officers noted the assessments in their findings
and dispositions. In several cases penalties were mitigated based on the mental health

assessment.

Documentation related to the disciplinary process for mentally ill inmates
needed further improvement. The QIT found that disciplinary logs were missing
information about the level of care of caseload inmates. Reporting employees
occasionally supplied clinical information such as “the inmate is not taking psychotropic
medication” or “the inmate’s behavior did not appear to be influenced by his mental
illness.” Canned language was used in the documentation of supervisors’ reviews of
RVR packets. Three inmates received RVRs for self-mutilation, and CDCR
requirements related to disciplinary charges for self-mutilation were not followed.
Transfers:

CIM has been unable to comply consistently with transfer timelines. Less
than half of EOP inmates in administrative segregation were removed to a hub institution
within 30 days. Only 59 percent of general population EOP inmates moved through the
reception center within 60 days. Clinically based expedited processing for selected
inmates did not occur. Stays of five months or longer were common. Inmates at the
3CMS level of care fared no better; six caseload inmates reviewed in a small sample had
been in the reception center from six months to one year. During the monitoring period,
a concerted effort spawned by a QIT to track and expedite transfers of EOP inmates fell

flat. The administration at CIM recognized that the institution could not comply with

291
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 42 of 50

transfer timelines for a variety of reasons. As a result, the warden requested headquarters
to establish a fully staffed EOP at CIM.

The MHCB lacked adequate resources to meet the demand for treatment.
Inmates in need of a crisis bed when none was available were kept in holding cells, a
practice deplored by MHCB mental health staff. Although licensed for just 18 crisis
beds, the number of psychiatric patients in crisis beds in the GACH reached 44 a few
days before the monitor’s October visit. A QIT on access to MHCB beds chaired by an

associate warden was chartered.

The number of referrals to DMH tripled during the monitoring period.
Internal procedural obstacles had long impeded the flow of referrals to DMH. At the
direction of the Office of the Inspector General, a new local operating procedure for
DMH referrals was adopted early in 2005. The new procedure provided detailed guidance
on how to identify patients in need a higher level of care and make referrals. Timeline
requirements were included. Staff reported the new process worked well, although
classification data necessary for referrals was not always available in a timely manner
and sometimes delayed the completion of referral packets. When the procedure was first
introduced classification staff agreed to provide information within two to three days.
That goal was met for a few months. During the latter half of 2005, however, it
sometimes took as long as ten to 12 days to obtain required classification information.
Classification staff reported that the major cause of the delay was lack of human

resources.

CIM reported that the average time from referral to transfer to DMH

increased from 21.5 to 27 days. When exceptionally long delays, attributable to factors

292
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 43 of 50

such as the need to conduct a Vitek hearing, were excluded from the calculation, the
average time to transfer was 19 days. Most referrals to DMH were accepted; 93 of 115
referrals resulted in transfers to DMH. Thirteen referrals were rejected. Three were
rescinded due to parole dates. Six inmates were awaiting transfer at the time of the

monitor’s visit.

There were 1,507 admissions to the MHCB from mid-October 2004
through September 2005. CIM did not track the average daily census of the MHCB. The
average length of stay was six days. Eight percent of stays exceeded ten days in length;
the average length of stay for that eight percent was 20.4 days. Of 109 patients who
stayed longer than ten days, 61 were referred to DMH. Of 166 patients who were

admitted more than three times within a six-month period, 51 were referred to DMH.

Access to the 25 acute care beds operated by DMH at ASH for MHCB
referrals was stymied. Most CIM inmates transferred for acute care went to the
APP/DMH at CMF. The monitor’s expert found that MHCB clinicians did not always
refer inmates to DMH programs as clinically warranted. In one case (see Exhibit N, Case
Review 1), a young suicidal inmate was not referred because his diagnoses were
primarily on Axis II. In another case of multiple MHCB admissions (See Exhibit N,
Case Review 3), staff rescinded a referral to DMH. An inmate with a rapidly cycling
mood disorder was discharged and readmitted to the MHCB. He was referred to DMH.
When he appeared to do better for a short time, the referral was withdrawn only to be

reinstated a few days later.

293
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 44 of 50

Staff at CIM reported that the referral process for patients in need of a
MHCB at ASH was as onerous as making a referral to any other level of DMH care; staff
at ASH handled these MHCB referrals no differently than any other referral.

In addition to overcrowding, several factors impeded the provision of
appropriate mental health treatment in the MHCB. Cooperation among mental health,
health care and custody staff was poor. The physical plant was unsanitary. Smeared
feces reportedly were not removed but were left for weeks by order of custody staff.
Mental health staff did not have ready access to patients. SRA checklists were not
always completed when warranted, and some that were completed omitted salient factors.
Examiners rarely specified a category of risk in conjunction with the assessment. UHRs

of patients discharged from the MHCB rarely contained copies of inpatient records.

Routine tasks were not carried out consistently in the MHCB. Earlier in
2005, fifteen-minute checks were performed for hours on a dead inmate before his death
was discovered. Staff reported that plumbing problems often resulted in denial of
showers. They also reported that food and water were sometimes withheld by custody
staff in the MHCB unit as a punitive measure. Contrary to doctors’ orders, psychiatric
patients were not permitted to have clothing routinely allowed other GACH patients.
Patients were left standing in holding cells not equipped with a bench seat longer than

four hours.

CIM submitted a proposal to DCHCS to open an OHU in a housing area in
the central facility. Staff at CIM expressed frustration that the proposal had elicited no

response. They said that they planned to open an OHU in the absence of authorization.

294
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 45 of 50

Other CAP Issues:

a. Compliance
All three mental health disciplines engaged in peer review.
b. Partial Compliance

Responses to urgent mental health referrals generally occurred within one

to two days. CIM did not track routine referrals.

Clinical contacts in the MHCB were typically made at cell-front. Inmates
were not allowed to use the yard despite efforts to increase out-of-cell time through a

QIT.

In administrative segregation, medical records were nearly always
available to mental health staff, and audits conducted on required contacts were sound.
Roughly 80 percent of caseload inmates in administrative segregation were identified
within 24 hours of placement. Initial IDTT meetings were held prior to the ICC hearing
86 percent of time. Psych tech made rounds daily. Staff concentrated on lowering the
refusal rate for out-of-cell case management contacts and succeeded in halving it. A
period of consistent compliance with weekly out-of-cell case management contacts was
realized early in 2005, when the average daily caseload population was around 50. As
the census rose, compliance fell. Additional staff was redirected to administrative
segregation, but constraints on inmate movement remained a limiting factor. Institutional
audits found that prior to the population increases, 83 percent of inmates received weekly

case management contacts. Almost all visits, 73 percent, took place out of cells. After

295
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 46 of 50

the census reached 90, compliance with weekly case management contact requirements

dropped to 70 percent; 56 percent occurred out of cells.

Psychiatric follow-up of reception center inmates improved. Large MHTS
audits spanning months found overall compliance rates of 87 to 90 percent. The recent
relocation of caseload inmates to CIM’s east and west facilities lowered compliance rates
to 72 percent and 79 percent, respectively, while the central facility sustained a
compliance rate of 97 percent. Staff believed that the depressed rates during the
transition would rebound.

Staff reported that about half of mentally ill parolees with the highest
needs did not come to the attention of TCMP case workers in time to receive discharge
planning or to apply for SSI. CIM mental health staff continued to provide discharge
planning for at-risk inmates. Review of UHRs found that case managers frequently
discussed discharge plans with inmates. Supervisory staff believed discharge planning
was done in almost all cases, but clinicians reported that they did not always have

advance notice of release dates.

The backlog of loose filing in medical records averaged approximately 50
inches, roughly equivalent to a nine-day lag. Institutional audits spanning three months
found that 70 percent of requested medical records were provided to mental health staff

in the central facility as compared to 91 percent at the minimum support facility.

The MHTS was not useful for many reception center functions. A QIT
was chartered to promote more efficient the use of the MHTS. During the monitoring
period, CIM staff did make better use of the MHTS. A supervisory office services

position was created to improve the MHTS, but no qualified candidate was found to fill

296
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 47 of 50

it. Staff submitted tracking forms daily, and data entries were made promptly. MHTS
reports were used for some quality assurance audits and management purposes.
Technical support for the MHTS was inadequate. The electronic scanner needed to score
the 31-question mental health screening forms was inoperable for over a year. A new
scanner arrived in September 2005, but two weeks later it had still not been programmed
by the institution’s computer expert. LAN hookups to enable supervisory staff real time

access to mental health program performance indicators were anticipated.

b. Non-Compliance

CIM remained unable to transfer 3CMS inmates from the reception center
within the required timeframe. Due to competing demands, clinicians no longer provided
increased case management contacts with 3CMS inmates deemed to be at-risk. Nor
were they able to sustain the practice of making contact with all 3CMS inmates who

remained at CIM longer than 90 days.

Some additional problems, not related to the institution’s CAP, were noted
during the monitor’s October visit. The institution no longer complied with some critical
provisions of the heat plan. Air conditioning in the GACH reportedly failed for some two
weeks during the summer when outdoor temperatures reached 99 degrees. Staff reported
that inmates housed in some MHCB cells were not provided with water during the shut-
down. The institution did not routinely track and document Stage IJ and Stage III heat
alerts. Monthly summaries of heat alerts had not been sent to headquarters for over one
year. Staff in one housing unit reported that a heat-related incident occurred during
summer, but did not know whether a report had been submitted as required. The

monitor’s review of the GACH emergency room log found annotated cases on complaints

297
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 48 of 50

of dehydration due to vomiting, inmates who passed out, complaints of numbness and
reported shortness of breath during July, August and September. Many housing units
either did not have thermometers in the unit or had thermometers located in inappropriate
locations. In the west facility thermometers were located in offices used by correctional
officers, cooled with fans, who staffed the unit. No thermometers were located at the
back of the units where inmates lived. Staff reported that during Stage III alerts in
August medical rounds were made, but no documentation of those rounds was produced.

CIM had more inmates than beds. The best efforts of staff were defeated
by the magnitude of the problem. Due to overcrowding, inmates were housed in holding
tanks in corridors for days at a time. The overtaxed plumbing system failed on multiple
occasions. Inmates did not have access to showers on a regular basis.

A promising change undertaken to improve access to treatment for EOP
inmates collapsed within weeks. Custody and mental health staff collaborated on a plan
to move most EOP inmates from the central facility to the east facility to capitalize on the
better housing and access to treatment traditionally available in the east facility. Shortly
thereafter due to over-crowding, non-caseload inmates were housed dormitory-style in
the day rooms of the units where EOP inmates were now concentrated. Clinicians’
offices opened off the day rooms. By October clinicians in the east facility reported
unanimously that visual privacy was impossible and limited the ability to interview
inmates safely and confidentially. In addition, a number of disturbances occurred at CIM
during the monitoring period, the most recent one within two weeks of the monitor’s

October visit. Safety concerns voiced by mental health staff were valid.

298
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 49 of 50

Institutional Summary

A rise in the census of the institution left some inmates sleeping in
corridors without beds or access to showers and toilets, overtaxed plumbing, undermined
orderly operation of the institution and compromised the safety of staff. Difficulties
faced by the institution also impeded severely the provision of necessary mental health
services as access to treatment declined. The heat plan, to a considerable extent, had
simply fallen by the wayside. General conditions in the MHCB were unacceptably poor.

The suicide prevention committee fell short of fulfilling its mandate.

Vacancies among allocated mental health positions were few, but
allocated staff lagged behind substantial general population and caseload increases.
Deteriorating physical conditions and increasing custody problems throughout the facility

reduced further the effective deployment of available mental health staff.

Among the four issues of focus, improvement was realized in quality
assurance efforts and mental health assessments in the RVR process. The mental health
quality assurance committee was close to functioning as intended. The last hurdles to full
implementation were more timely and complete coordination with the overall health care
quality management committee, greater consistency in the quality of its QITs and better
participation of mental health staff members in the work of QITs. CIM conducted an

especially effective QIT on mental health assessments in the disciplinary process and

continued to progress in this area.

Medication management did not progress. Audits of medication
management were flawed and uninformative. Medication orders were lost, expired or

failed to follow inmates relocated within the institution. On the other hand, a reasonable

299
Case 2:90-cv-00520-KJM-SCR Document 2081-5 Filed 12/14/06 Page 50 of 50

number of inmates were provided with HS medication and medication packages were

effectively delivered to paroling inmates.

Access to higher levels of care remained particularly problematic. The
MHCB was overloaded and poorly run. To meet the need for more crisis beds, CIM
planned to open, apparently sua sponte, an OHU in a housing unit located in its central
facility. Referrals to DMH were no longer slowed by CIM’s cumbersome internal review
process, often criticized by the monitor, but access to DMH beds continued to be
impeded by both internal and external factors. MHCB staff did not make all clinically
warranted referrals. Classification information required to complete referral packets was
not routinely available in a timely manner. The DMH requirement that CIM conduct its
own Vitek proceedings delayed some transfers. Inadequate communication between
ASH and CIM impeded sharply the institution’s ability to transfer inmates in need of a

MHCB level of care to ASH.

Relative to CIM’s CAP, one issue was resolved during the monitoring
period, and progress occurred in some other areas, although some earlier gains also
deteriorated. Psychiatrists met with inmates in a private setting. Psychiatric follow-up of
reception center inmates improved but faltered later in the monitoring period.
Improvements in certain aspects of MHCB treatment made during the 15™ monitoring
period vanished as conditions in the GACH worsened. Case management contacts
occurred weekly in administrative segregation, and the refusal rate was cut in half. Those
two achievements, however, did not survive steady increases in the size of the
administrative segregation MHSDS caseload census. While clinicians’ access to the

medical records of inmates in administrative segregation improved, access to records

300
